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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


 ANTHONY BESTHOFF, derivatively and on                   :          Civil Action No. 2:17-cv-01449
 behalf of WORLD WATER WORKS                             :                     MJV-MF
 HOLDINGS, INC.                                          :
                                                         :
              Plaintiffs,                                :
                                                         :         VERIFIED STOCKHOLDER
 v.                                                      :         COMPLAINT (AMENDED)
                                                         :
 PRASHANT MITTA, RAVI REDDY,                             :
 RAVISHANKAR TUMULURI, and WORLD                         :
 WATER WORKS HOLDINGS, INC.                                        Document Filed Electronically
                                                         :
                                                         :
             Defendants.                                 :




           Plaintiff Anthony Besthoff, a stockholder of World Water Works Holdings, Inc.

 (“WWWH” or the “Company”), by his attorney Gilberto Garcia, Esq., makes the following

 Verified Complaint pursuant to Fed. R. Civ. P. 23.1 on behalf of World Water Works Holdings,

 Inc. against Defendants Ravi Reddy, Prashant Mitta, and Ravishankar Tumuluri, as follows:



 SUMMARY OF ACTION

      1.   This is a stockholder derivative action brought by Anthony Besthoff on behalf of nominal

 defendant WWWH against three of the five members of the Company’s Board of Directors,

 Defendants Ravi Reddy (“Reddy”), Prashant Mitta (“Mitta”), and Ravishankar Tumuluri

 (“Tumuluri”) for breaches of fiduciary duty, gross mismanagement, and excessive self-dealing to

 the detriment of the Company.


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   2.    Defendants Reddy, Mitta and Tumuluri have violated their duty of care and duty of loyalty

 to the Company, as described herein, in a manner that has damaged the Company. Defendants

 Reddy, Mitta and Tumuluri, in the three specific instances alleged herein, have leveraged their

 Board control of the Company to fleece funds from the Company to their own personal benefit.

   3.    In 2016, Plaintiff learned that an entity Ravi Reddy owns refused to pay $790,000 owed to

 the Company among many other self-dealing activities. Plaintiff sent a default demand letter

 requesting that Reddy’s LLC pay the money due and owing to the Company.

   4.    After the Company received the Besthoff demand, Defendant Reddy formed a Board

 committee whose composition was in direct violation of the governance documents of the

 Company. Defendant Reddy then demanded that this illegitimate committee approve a license

 transaction whereby WWWH granted a territory license to WWW Asia Holdings, LLC (“India

 Operation”), a company in which he has a controlling interest, in exchange for a 25% membership

 interest.

   5.    Prior to the 25% membership interest adoption by the Company, in 2016, Defendant Reddy

 represented to have made a $1 million equity investment into the India Operation through Think

 Water Partners, LLC. The committee created by Reddy approved this exchange between the

 Company and the India Operation in March 2017.

   6.    Reddy knowingly bound the Company to a financial transaction by converting $1 million

 of equity to $1 million debt without disclosure to the Company, without disclosure of terms,

 without review and discussion a business plan or legitimate rationale, without discussion of pro-

 rata rights, and without other appropriate and necessary disclosures. Reddy knowingly made these

 changes without any documentation, disclosure to the Company Board, without a Company Board


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 vote, and without stockholder approval. At the time of the transaction, the India Operation was in

 desperate need of financial and business assistance given its history of losses and failed execution

 versus projections. Reddy’s primary interest in arranging this transaction was to protect his

 investment in India Operations, not the interests of WWWH.

   7.   Ravi Reddy’s conduct of ignoring governance requirements of the Company, manipulating

 equity and debt at will to serve his best interests, and avoidance of any documentation, disclosure

 or approvals by the Company and its stockholders that might curtail the transactions that benefitted

 his other interests constitutes self-interested transactions and a violation of his fiduciary duties to

 the Company.

   8.   Tumuluri, a foreign citizen lacking proper authorization to work in the United States,

 accepted an executive position with the Company and has received compensation of $120,000.00

 per year in violation of the immigration laws due to the fact that he is an ESTA non-immigrant

 who is not authorized to be employed in the United States. This constitutes a violation of 8 U.S.C.

 §1324a(a)(1)(A) which makes the Company liable for hiring for employment in the United States

 an alien knowing that the alien is not authorized to work. Tumuluri is not authorized to work in

 the United States and is only allowed to visit the United States.

   9.   The mere acceptance of $120,000.00 per year for acting as the Company’s secretary

 without having authority to be employed is a violation of Tumuluri’s fiduciary duties to the

 Company as it is setting the Company up for the potential of a criminal violation if the employment

 is discovered by the U.S. Government. No director should accept employment under nebulous

 circumstances if the potential for trouble exists as a result of this employment.




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   10. According to the Defendant Directors and Officers of the Company, the Company currently

 faces a liquidity crisis and is in severe financial hardship. Nonetheless, Mitta, as CFO of the

 Company authorized at over $1 million dollars to be paid to the law firm of Mayer Brown, LLP,

 in New York, for payments of legal fees incurred by investment vehicles owned by Mitta and

 Reddy that hold WWWH interests: Mitta Water Holdings, LLC, Think WWW Holdings, LLC and

 Tura water Holdings, LLC (collectively “Mitta LLCs”).

   11. By shifting these significant legal fees away from his investment entities and onto

 WWWH, Mitta directly avoided material legal fees that he otherwise would have directly borne,

 a self-interested transaction in direct contravention to his role as CFO and director of WWWH.

 Mitta authorized these payments without notifying the Board. Mitta authorized these payments

 without a board vote as required by the governance documents of the Company. Mitta authorized

 these payments without a stockholder vote. These actions by Prashant Mitta are violations of his

 fiduciary duties as a Director of the Company.

   12. Any one of these breaches of care and loyalty demand the Defendants removal of Directors.

   13. This derivative stockholder action was brought following a formal demand by Plaintiff to

 the Board to address, remedy, and pay a debt that Ravi Reddy’s company had with the Company

 and other Defendants’ breaches of fiduciary duty and self-dealing which damaged the Company.

 Since this action was initially filed the Defendants have engaged in the conduct alleged herein that

 has damaged and continues to damage the Company.




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 PARTIES

   14. WWWH is a closely held corporation incorporated in Delaware with a principal place of

 business in Oklahoma. WWWH is the owner of World Water Works, Inc. (“WWWInc.”), the

 operating arm of the Company (WWWH and WWWInc. are referred to collectively as “WWW”

 or the “Company”).

   15. Plaintiff Anthony Besthoff (“Besthoff”) is a stockholder of WWWH and has been during

 the relevant time periods set forth in this Complaint. He is a resident of the State of Massachusetts.

 Plaintiff Besthoff holds an MBA from Cornell University. Plaintiff Besthoff is a seasoned business

 person that has held board positions with dozens of companies. He has spent a large portion of his

 career in private equity and venture capital investing in and growing companies. The core fabric

 that allows private equity and venture capital to work is proper corporate governance and

 adherence to investor agreements. The Plaintiff has brought this suit to assure that the Defendants

 suffer consequences for their lack of duty of care and loyalty.

   16. Defendant Prashant Mitta (“Mitta”) is the Chief Financial Officer of WWWH and a

 member of the Board. He is a resident of the State of New Jersey. Mitta has an MBA from

 Columbia University and was a Director at Enron.

   17. Defendant Ravi Reddy (“Reddy”) is a member of the Board. He is a resident of the State

 of New Jersey. Reddy has an MBA from Rutgers University and was a partner at a major Certified

 Public Accounting firm.

   18. Defendant Ravishankar Tumuluri (“Tumuluri”) is the Secretary of WWWH and a member

 of the Board. He is a resident of the United Kingdom. Tumuluri was a manager at Enron and has

 held over a dozen Board positions.


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 DUTIES OF THE COMPANY’S BOARD AND DIRECTORS

   19. By reason of their positions and ability to control the business and corporate affairs of the

 Company, the Defendants owe the Company and its stockholders’ fiduciary obligations of loyalty,

 good faith and fair dealing, trust, fidelity, and due care. The Defendants are required to use their

 utmost ability to manage and control the Company in a fair, just, and equitable manner and to act

 in furtherance of the best interests of the Company and all classes of stockholders.

   20. Defendants obligations include a duty to maximize the Company’s value with respect to

 any corporate/business venture and to refrain from taking any actions which damage or reduce the

 Company’s value.

   21. To discharge their fiduciary duties to the Company, Defendants are also required to govern

 the Company to utilize its resources in a manner benefitting the Company and all classes of

 stockholders, and not in favor of their own personal and financial interests.

   22. Defendants are also obligated to act in the best interests of the Company, and to in good

 faith oversee, direct, and supervise the Company’s business and corporate interests.

   23. Defendants therefore owe the Company and its stockholders’ obligations of candor,

 fidelity, and loyalty, and are further required to not make any attempts to frustrate or impede

 maximization of Company and stockholder value for their own personal or financial gain.

   24. Each Defendant is sued individually and in his respective capacity as an officer/executive

 or Board member because each undertook actions to circumvent or otherwise not abide by the

 governance documents of the Company to benefit their own interests.




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   25. Each Defendant is sued individually and in his respective capacity as an officer/director or

 Board member because each undertook actions which advanced their own personal and financial

 interests at the expense of the Company and its stockholders.


 JURISDICTION AND VENUE

   26. This Court has jurisdiction over the within action pursuant to 28 U.S.C. § 1332(a)(2)

 because plaintiff and defendants are citizens of different states and the amount in controversy

 exceeds $75,000.00, exclusive of interest and costs.

   27. The Court has jurisdiction over each defendant named herein because each defendant is

 either a corporation that conducts business and maintains operations in this District or is an

 individual who has sufficient minimum contacts such that the exercise of jurisdiction comports

 with traditional notions of fair play and substantial justice.

   28. Venue is proper in this District pursuant to 28 U.S.C. §1391(a) because (i) one or more of

 the defendants either resides in or maintains operations in this District; or (ii) a substantial portion

 of the transactions and wrongs complained of herein, including defendants’ primary participation

 in the wrongs detailed herein, occurred in this district.

   29. This action is not a collusive one to confer jurisdiction that this Court would not otherwise

 have.


 BACKGROUND FACTS COMMON TO ALL COUNTS

 The Composition of the Company and its Board of Directors

   30. Defendant WWWH is a holding corporation organized and existing under the laws of the

 State of Delaware and consisting of itself as the holding company and its subsidiaries and affiliates.


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 The Company has three classes of shares of stock: common stock, non-voting common stock, and

 preferred stock. With respect to its preferred stock, the Company has issued Series A, Series B-1,

 Series B-2, and Series C preferred stock. The Company is a closely-held corporation whose shares

 do not trade on any public stock exchange. Defendant WWWH is controlled by the Series B and

 Series C directors, who as the majority of the board of directors, vote in all ways that are convenient

 to Mitta Water Holdings, LLC, Think WWW Holdings, LLC, and Tura Water Holdings, LLC, the

 Limited Liability Company entities that appointed them.

   31. The board composition of the Company is Dr. James Fosshage as preferred stock Series A,

 Mark Fosshage as CEO director, Ravi Reddy as preferred stock Series C, Prashant Mitta as

 preferred stock B-1 Series and Ravishankar Tumuluri as preferred stock Series B-2. Prashant

 Mitta and Ravi Reddy are the direct owners of the Mitta LLCs. Therefore, the Mitta LLCs control

 the Company’s board.

   32. The Plaintiff is a common and founding stockholder and has proper standing to bring about

 this Complaint. Unlike the Mitta LLCs, the Plaintiff’s common stock lacks the more sophisticated

 governance mechanisms of the preferred stock. As such, Plaintiff has a greater reliance on the

 directors’ execution of fiduciary duties of care and loyalty to protect his interests.


 Plaintiff Sent a Demand Letter Requesting Board Action

   33. Without resolution of the $790,000.00 debt owed to the Company, Plaintiff Besthoff filed

 a Demand letter with the Company on November 15, 2016 to address a debt that Think Water

 Partners, LLC, Reddy’s company that owns 75% of the India Operation had with the Company.

   34. In December of 2016, Ravi Reddy sent a letter to the Company complaining that Think

 Water Partners should not pay the $790,000.00 because it had invested $1 million in the India

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 Operation, thus benefiting the Company. At the time, the letter was written by Reddy seeking

 forgiveness of the debt that was the cause of Plaintiff’s Demand Letter, the $1 million was

 classified as an equity infusion into the India Operation.

   35. Think Water Partners, LLC had to the pay the $790,000.00 it owed to the Company.

   36. Thereafter, and around the same time, the acts described herein transpired. Formal demand

 letters as well as written stockholder consents have been sent on behalf of the majority of the

 stockholders of the outstanding shares of the Company, but the Company’s management, working

 in conjunction with the Defendants herein as well as the Defendants have refused to comply with

 the requests by the majority of the outstanding stockholders of the Company to stop the conduct

 described in the following paragraphs of this Complaint.


   Ravi Reddy’s Manipulation and Misrepresentations of Facts Upon the Company.

   37. Many of the issues related to the Demand Letter were resolved on the surface and at some

 point, appeared to be moot. However the truth of the matter is that Ravi Reddy’s company, Think

 Water Partners LLC, paid the $790,000.00 due and owing but at the same time, unbeknownst to

 the Company’s Board or its stockholders, charged $1 million to the books of the India Operation

 without the Company’s 25% interest approval as mandated by the India Operation’s protective

 provisions requiring a unanimous consent in the event of loan capitalization in the India Operation.

   38. This charge was included in a document approved and created by the India Operation

 committee created to make decisions, obviating Company Board approval, always benefiting the

 India Operation, even at a loss to the Company.

   39. The debt report was submitted to the Company by Ravi Reddy on March of 2017. The

 document was entitled The Amended and Restated Limited Liability Company Agreement of the

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 India Operation. In it, there is a debt incurred by the India Operation in the amount of $1 million.

 The creditor is Ravi Reddy’s company, Think Water Partners, LLC. This limited liability company

 owns 75% of the India Operation.

   40. This transaction alone constitutes self-interested conduct on the part of Ravi Reddy as a

 Director of the Company because by adding debt to the India Operation books where the creditor

 lending the money is his LLC, he is putting debt into the India Operation that reduces the value of

 the 25% interest of the Company. A Board vote from the Company was required in this case

 according to the governance documents of the Company.


   The Committee Created By Reddy Violated the Corporate Governance Checks and
   Balances.

   41. Ravi Reddy has a majority ownership interest in three of the four investment entities

 holding preferred stock in the Company, the Mitta LLCs. That means he is the controlling

 stockholder of the Company. He is also a director of the board.

   42. On November 18, 2016, three days after Plaintiff’s demand letter, the Defendants, under

 the direction of Reddy, created a committee to address all issues related to the India Operations.

   43. Reddy’s purpose for creating this committee was to preclude Dr. James Fosshage from

 objecting and opposing any of Reddy’s self-interested positions with regard to the India Operation,

 such as the fraudulent transfer of equity capitalization in December 2016 to a loan capitalization

 in the books of the India Operations in March 2017.

   44. This committee, made up of loyal executives to Reddy due to the fact he controlled the

 Company and they would benefit directly from his allegiance, violated the check and balances of




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 the Bylaws, the Amended and Restated Investors’ Rights Agreement (“IRA”) - a stockholder

 agreement, and the law of Delaware.

   45. Section 5.6 of the IRA requires that any Committee of the Company must include a

 Director representing the Series A preferred stockholders. This Director is Dr. James Fosshage.

   46. This stockholders’ agreement violation affected the Company and all the stockholders

 holding the majority of the outstanding stock, including the Plaintiff.        Unlike Reddy the

 stockholders holding the majority of the outstanding stock are damaged by the incurrence of debt

 in the India Operation which cause the diminution of the Company’s 25% membership interests

 in the India Operation in favor of Reddy.

   47. Without adhering to the governance documents of the Company in forming the improper

 Board committee, Reddy transferred a valuable license to the Indian Operation for the benefit of

 his 75% stake at the expense of WWWH shareholders.

   48. With the use of the improper Board committee, without having to answer to anyone in the

 Company, Reddy strapped the India Operation with an unapproved debt that needs to be paid in

 priority to any proceeds or liquidity the Company could receive for its 25% ownership in the India

 Operation. Reddy is accruing significant interest which is further dilutive to the Company’s stake.

   49. Reddy has violated his fiduciary duties to the Company with his conflicted actions that

 ignore and violate the Company’s governance documents and Delaware law .


   Ravishankar Tumuluri’s Employment Violates the Immigration Laws of the United
   States.

   50. Defendant Tumuluri has repeatedly misappropriated Company resources and funds to his

 own benefit in the commission of violations of 8 U.S.C. §1324(a), not caring that the Company,


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 pressured to do this under Reddy’s control, could be subjected to fines from the Department of

 Homeland Security.

   51. On January 6, 2017, WWWH held a Board meeting where only the Defendants attended.

   52. By approved resolution, Defendant Tumuluri was appointed as WWWH Secretary with

 annual compensation of $120,000.00. The Company’s management is not withholding taxes from

 this Executive compensation. It treats it as an independent contractor agreement. Independent

 contractors have very specific rules under the guidelines of the Internal Revenue Service.

   53. Defendant Tumuluri is a resident of London and holds a passport from India.

   54. Defendant Tumuluri travels to the United States to sporadically and runs most of his

 responsibilities as a director and executive of the Company from London. He does not hold a

 business, investor or employment visa. Upon information and belief, the Company has not made

 any requests to Homeland Security to obtain an employment visa for Tumuluri.

   55. Defendant Tumuluri travels to the United States through the Section 217 Visa Waiver

 Program, commonly referred to as ESTA. Under this program an alien is not entitled to work and

 is in the United States under a visitor classification.

   56. Defendant Tumuluri does not have employment authorization.

   57. Defendant Tumuluri’s compensation stems from his executive position as WWWH

 Secretary.

   58. The secretary of the Company does not have absolute independence of action in execution

 of the work involved for the position because the duties are dictated by the Bylaws and governed

 by the Board of Directors. Therefore, in accordance with the language of the Bylaws, the secretary

 is not an independent contractor.


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   59. The Company has the power to interfere with or control the manner of execution of the

 secretary’s performance. Therefore, the Company determines and lays out the duties to be

 performed and thus, the secretary is a corporate employee of WWWH and not an independent

 contractor as the Company’s management claims.

   60. The executives of WWWH, in May 2018, after demands from Plaintiff’s counsel, retained

 the services of Ms. Julie Myers Wood of Guidepost Solutions, LLC and Paul Virtue of Mayer

 Brown. Both responded that the Company had engaged in an appropriate retention of an

 independent contractor and thus, no violations of 8 U.S.C. §1324(a) existed. The experts’ opinion

 did not take into consideration the IRS definition of independent contractor, which in this case, is

 applicable and would not permit an independent contractor relationship between the Company and

 Tumuluri.

   61. Tumuluri continues to receive an annual salary of $120,000.00 as “Secretary” of the

 Company which is clearly in violation of 8 U.S.C. §1324(a).

   62. Ravishankar Tumuluri has violated his fiduciary duties as a Director to the Company by

 accepting a lucrative compensation package for a job that belongs to a person authorized to work

 in the United States.


   Prashant Mitta, as CFO of the Company Has Approved And Overseen More that $1
   Million In Legal Fees For The Investment Entities He Controls in Violation of the Checks
   and Balances of Corporate Governance.

   63. Prashant Mitta is the CFO of the Company.

   64. Mayer Brown LLP, the firm that represents the Mitta LLCs that Mitta is an owner has been

 paid over $1 million in legal fees by the Company under the premise that those fees are advances

 for the representation of the Defendant Directors as indemnification advances for litigation fees.

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 The Mitta LLCs, parties in various matters, do not have any indemnification agreements or other

 agreements requiring the Company to pay legal fees or legal fee advancements. Under the

 direction of Mitta, the Company has paid all legal fees to Mayer Brown for their representation of

 the Mitta LLCs.

   65. The legal fees approved by Mitta to cover the fees for the Mitta LLCs has been concealed

 and deliberately misrepresented as being used to address claims related to his role as director from

 the Board and other stockholders by the Company’s management under the direction of Board

 Director and CFO Mitta.

   66. Mitta, as CFO of the Company, has instructed the Company executives to provide the legal

 fees disbursements for legal representation of the preferred stockholder companies of WWWH.

 Upon information and belief, a total of $2,175,465 has been paid to Mayer Brown from December

 2016 through December 2018 by the Company. It is unknown what portion has been paid for

 advances of director legal fees under indemnification agreements and what has been paid for

 Mayer Brown’s representation of the Mitta LLCs stockholder in connection with stockholder

 litigation.

   67. During June 2018 through December 2018, there were two active cases that Mayer Brown

 was actively engaged in the Supreme Court of New York, Commercial Division: 1) 654925/2017,

 Mitta Water Holdings; Think WWW Holdings, LLC; Tura Water Holdings, LLC; Prashant Mitta;

 Ravi Reddy; Ravishankar Tumuluri; and World Water Works Holdings, Inc. vs. Mark Fosshage;

 James Fosshage; and Anthony Besthoff; 2) 652881/2018, James Fosshage; Mark Fosshage; and

 World Water Works Holdings, Inc. vs. Mitta Water Holdings, LLC; Think WWW Holdings, LLC;




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 Tura Water Holdings, LLC; David Carpenter, Esq.; Mayer Brown LLP; David Boillot, Esq.;

 Reitler Kailas, LLC; Samuel Wilson, Esq.; and World Water Works Holdings, Inc.

   68. On August 8, 2019, Prashant Mitta sent an email stating: “the Company continues to face

 liquidity constraints and is in need of capital/financing to address those constraints.”

 Notwithstanding such representation, Mitta has prioritized and approved the payments by the

 Company to Mayer Brown LLP for the representation of the Mitta LLCs.

   69. The Board has never voted upon the interested party payments to Mayer Brown on behalf

 of Mitta’s Mitta LLCs. The nature and allocation of the work for these payments for director

 advances and Mitta’s preferred stockholders’ companies remains concealed by the Company’s

 executives under the mandate of board director Prashant Mitta. However, compiling factual

 financial information and statistical analysis, the amount paid by the Company to Mayer Brown

 on behalf of the Mitta LLCs is well over $1 million.

   70. Prashant Mitta has violated his fiduciary duties to the Company as a Director to the

 Company in self-interested transactions by causing the Company to pay the legal fees of the Mitta

 LLCs.


                                       FIRST COUNT
           (Breach of Fiduciary Duty Against Defendants Mitta, Reddy, and Tumuluri)

   71. Plaintiff repeats the allegations of paragraphs 1 through 71 as if set forth in their entirety

 herein.

   72. As directors and members of the Board of the Company, Defendants Mitta, Reddy and

 Tumuluri owed the Company fiduciary duties of due care and loyalty. They represent the Mitta




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 LLC stockholders of the Company and thus, they owe, as directors and stockholders, a fiduciary

 duty to the Company and other non-controlling stockholders.

   73. As described in this Complaint, Defendants Mitta, Reddy and Tumuluri breached their

 fiduciary duties to the Company by repeatedly taking self-interested actions that harmed the

 Company to the benefit of the India Operation (Ravi Reddy), actions that harm the Company in

 employment that violates immigration laws (Ravishankar Tumuluri) and actions forcing the

 Company to pay legal fees for companies in which Mitta has financial and other interests (Prashant

 Mitta).


                                       SECOND COUNT
           (Waste of Corporate Assets Against Defendants Mitta, Reddy, and Tumuluri)

   74. Plaintiff repeats the allegations of paragraphs 1 through 73 as if set forth in their entirety

 herein.

   75. As a result of the misconduct and breaches of fiduciary duty described above, Defendants

 Mitta, Reddy and Tumuluri have wasted and squandered the Company’s assets.

   76. Defendant Reddy has wasted and squandered Company assets by providing creating illegal

 debt for his company, owner of 75% of the India Operations with no corresponding benefits to the

 Company and strapping it for $1 million of debt in diminution of the Company’s stake in the India

 Operation.

   77. Defendant Tumuluri has wasted corporate assets of over $360,000 by engaging in

 employment with the Company at the salary of $120,000.00 that violates the immigration laws of

 the United States.




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   78. Defendant Mitta has wasted corporate assets by continuing to use the Company as his

 personal bank to fund over $1 million of legal fees incurred by the Company’s preferred

 stockholders LLCs he owns.



   WHEREFORE, Plaintiff demands judgment against the Defendants:

       a). for damages in an amount to be determined at trial resulting from Defendants’ breaches
           of fiduciary duty and corporate waste, plus fees and other costs as are equitable and
           just;

       b). for declaratory relief as follows:

               1). removing Reddy, Mitta, and Tumuluri from the Board of the Company and
               replacing them in accordance with the Voting Agreement of the Company;

       c). for declaratory relief terminating the Ravishankar Tumuluri’s employment as Secretary
           of the Company;

       d). for punitive damages permitted by law; and

       e). such other relief as the Court deems just and equitable.




                                                     GILBERTO M. GARCIA, LLC

                                                     ______________________________
                                                           By: GILBERTO M. GARCIA

                                                     Attorneys for Plaintiff Anthony Besthoff and
                                                     World Water Works Holdings, Inc.

 Dated: September 4, 2019




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                                          VERIFICATION

       I, Anthony Besthoff, under penalty of perjury, certify as follows:

       I am the lead plaintiff in this action. I am a founding stockholder in World Water Works

    Holdings, Inc. and have been during the relevant time period of the actions described herein.

    I have reviewed the Verified Complaint and authorized its filing. Based upon my and my

    counsel’s investigation, the contents of the Verified Complaint are true to the best of my

    knowledge, information, and belief.



                                                    By:______________________________

                                                            Anthony Besthoff

    Dated: September 4, 2019




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